Case 2:07-cr-00143-SRC                Document 320            Filed 07/13/12          Page 1 of 1 PageID: 1642


                                    UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY
                                        ENITED SThTES v. HALEEK STATE
                              Crirn. No. 07-143(SRU), SBI513142C


                                  PETITION FOR
                      WRIT OF HABEAS CORPUSADfEEDj

 1. Haleek State. SBI= 5 I 3142C.                   hereinafier the “Detainee’) is now contined at the New Jersey
 Department of Corrections, New Jersey State Prison.

 2. The Detainee is charged in this District by Indictment with a violation of 18 U.S.C.   1962 & 1963.
 3. The Detainee will return to the custody of the detaining facility upon termination of proceedmgs.

 4. The Detainee will be required in Newark, New Jersey. before the Hon. Stanley R. Chesler.
                                                                                             U.S.D.J.. on
 Thursday. July 19. 2012, at 2:00 pm. for a Sentencing Hearing. A Writ of Habeas Corpus should
                                                                                                 he issued for that
 purpose.


 I)ATED: July 11,2012                                               5: MELiSSA L. JAJvIPOL
                                                                   Melissa Jampol
                                                                   Assistant U.S. Attorney
                                                                   Petitioner (973) 645-2772

                                                     OR D ER
Let the Writ Issue.

DATED



                                                        iiC anley R”Chesler, U.SD.J.

                                    WRIT OF HABEAS CORPUS
The United States of America to Warden of the New Jersey Department of Corrections. New Jersey State
                                                                                                          Prison:
WE COMMAND YOU that you have the body of

                                  Flaleek State, SBI#513142C,

now confined at the NEW JERSEY DEPARTMENT OF CORRECTIONS, NEW JERSEY STATE
                                                                                                    PRISON,
brought before the United States District Court, the Hon. Stanley R. Chesler, U.S.D.J., at Newark,
                                                                                                       NJ, on
Thursday, July 19, 2012, at 2:00 pm. so that the Detainee may attend a Sentencing [-Jearing in the
                                                                                                   above-captioned
matter. Immediately upon completion of the proceedings, the Detainee will be returned to said place of
                                                                                                       confinement
in safe and secure conduct.

                 WITNESS the honorable Stan!cyR. Chcsler
                 United States .Dis trict Judge
                 Newark, New Jersey



DATED:   //2. f2 /                                     WILLIAM T. WALSH
                                                       Clerk of the LS. District Court
                                                       for the District of New Jersey
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                                                                Deputy Clerk
